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7                           UNITED STATES DISTRICT COURT
8                          EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,          )
                                        )           CR. S-06-441 GEB
11                       Plaintiff,     )
                                        )           ORDER CONCERNING
12        v.                            )           ATTORNEY EDWARD C. Bell
                                        )           AND SCHEDULING STATUS
13                                      )           HEARING
     JOHN HERNANDEZ ISMAEL RIOS, ANTONIO)
14   MEDINA, VIGILIO PINEDA, AARON LAMAR)
     POTTS, aka Ardallah Abbas, aka     )
15   Jarrod Green, VALERIE WHITE, ISAURO)
     JAUREGUI CATALAN, PABLO            )
16   FARIAS-SEGURA, aka “Pia”, ARTURO   )
     FARIAS-SEGURA, aka “Turin,” WENDELL)
17   STEWART, and RICARDO VENEGAS,      )
                                        )
18                       Defendants.    )
                                        )
19
20               Attorney Edward C. Bell shall explain in a writing filed no
21   later than 3:00 p.m. on December 14, 2009, why he did not appear at
22   the status hearing held December 4, 2009 on behalf of his client
23   Defendant Isauro Jauregui Catalan.         The Court is contemplating a
24   sanction proceeding, and is providing Attorney Edward C. Bell an
25   opportunity to explain whether a sanctions proceeding should be
26   convened.   Further, another status hearing is scheduled to commence at
27   9:00 a.m. on January 8, 2010.      Attorney Ed Bell James shall attend
28   that hearing or otherwise ensure that his client Defendant Isauro

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1    Jauregui Catalan is represented by counsel at that hearing.
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                  IT IS SO ORDERED.
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4    Dated:     December 4, 2009

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6                                        GARLAND E. BURRELL, JR.
                                         United States District Judge
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